                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
AAS:DKK                                             271 Cadman Plaza East
F. #2017R05903                                      Brooklyn, New York 11201

By ECF                                              September 3, 2019

The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:      United States v. Huawei Technologies Co., Ltd., et al.
                       Criminal Docket No. 18-00457 (AMD)

Dear Judge Donnelly:

        Oral argument on the government’s Motion to Disqualify James M. Cole, Esq., is
scheduled for September 4, 2019. Should the Court, the government or Cole wish to address the
contents of the government’s classified filings or make arguments that implicate classified
information, the government will move to close the courtroom for that portion of the argument.
See, e.g., United States v. Alcantara, 396 F.3d 189 (2d Cir. 2005); United States v. Aref, 533
F.3d 72, 82 (2d Cir. 2008).

                                                    Very truly yours,

                                                    RICHARD P. DONOGHUE
                                                    United States Attorney
                                                    Eastern District of New York

                                             By:          /s/ David K. Kessler
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                                                    Julia Nestor
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